       IN THE UNITED STATES DISTRICT COURT FOR THE
               WESTERN DISTRICT OF MISSOURI
                         SOUTHWESTERN DIVISION

UNITED STATES OF AMERICA,              )
                                       )
                     Plaintiff,        )
                                       )
     vs.                               )       No. 11-05020-13-CR-SW-RED
                                       )
TIMOTHY KENT,                          )
                                       )
                     Defendant.        )


                     REPORT AND RECOMMENDATION
                     CONCERNING PLEA OF GUILTY


     The Defendant, by consent, has appeared before me pursuant to

Rule 11, F.R.Cr.P., 22(k)(26), WDMO, and 28 U.S.C. '636, and has

entered a plea of guilty to Count Fourteen of the Superseding

Indictment filed on August 24, 2011.       After cautioning and examining

the Defendant under oath concerning each of the subjects mentioned

in Rule 11, I determined that the guilty plea was knowledgeable and

voluntary, and that the offense charged is supported by a factual

basis for each of the essential elements of the offense.          I therefore

recommend that the plea of guilty be accepted and that the Defendant

be adjudged guilty and have sentence imposed accordingly.



Date: January 24, 2013                     /s/ James C. England
                                              JAMES C. ENGLAND
                                       UNITED STATES MAGISTRATE JUDGE




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                                NOTICE

     Failure to file written objections to this Report and
Recommendation within 14 days from the date of its service shall bar
an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.S.C.
'636(b)(1)(B).




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